            Case 4:15-cv-00874 Document 1 Filed in TXSD on 04/03/15 Page 1 of 4



                           IN T H E UNITED STATES D I S T R I C T C O U R T
                           F O R T H E SOUTHERN D I S T R I C T O F T E X A S
                                        HOUSTON DIVISION

DAVID VAUGHN AND STEPHANIE                         §
HAWKINS-VAUGHN,                                    §
                                                   §
            Plaintiffs                             §
                                                   §
vs.                                                §          C I V I L A C T I O N NO.
                                                   §
G E OV E R A S P E C I A L T Y                     §
INSURANCE S E R V I C E S ,                        §          J U R Y DEMAND
                                                   §
            Defendant.                             §

                             DEFENDANT'S N O T I C E OF R E M O V A L

TO THE HONORABLE COURT:

            Defendant Geo Vera Specialty Insurance Services ("Geo Vera") files this, its Notice of

Removal to the United States District Court for the Southern District of Texas, Houston

Division, on the basis of diversity of citizenship and amount in controversy and respectfully

shows:

            1.     On March 5, 2015, Plaintiffs David Vaughn and Stephanie Hawkins-Vaughn filed

their Original Petition in Harris County, Texas, naming Geo Vera Specialty Insurance Services as

Defendant. The lawsuit arises out of a claim Plaintiff made for damages to their home under a

homeowner's insurance policy with Geo Vera Specialty Insurance Company.

            2.     Defendant files this Notice of Removal within 30 days of the filing of Plaintiffs

pleading. See 28 U.S.C. §1446(b). This Notice of Removal is being filed within one year of the

commencement of this action. See id.

            3.     Copies of all pleadings, process, orders, and other filings in the state court action

are attached to this Notice as required by 28 U.S.C. § 1446(a). A copy of this Notice is also

concurrently being filed with the state court and served upon the Plaintiffs.

DEFENDANT'S NOTICE OF REMOVAL - Page 1
2183895vl
08917.277
            Case 4:15-cv-00874 Document 1 Filed in TXSD on 04/03/15 Page 2 of 4




            4.     As required by 28 U.S.C. § 1446(a) and Rule 81 of the Local Rules,

simultaneously with the filing of this Notice of Removal is an Index of Matters Being Filed is

attached hereto as Exhibit "A." A copy of the state court Docket Sheet is attached hereto as

Exhibit "B." A copy of the Civil Case Information Sheet filed in state court is attached hereto as

Exhibit "C"; Plaintiffs Original Petition is attached hereto as Exhibit "D"; and Defendant's List

of the Parties to the Case and Counsel is attached hereto as Exhibit "E."

            5.     Removal is proper based on diversity of citizenship under 28 U.S.C. §§ 1332(a),

1441(a) and 1446.

            6.     This Court has jurisdiction over this action under 28 U.S.C. § 1332 in that there is

diversity of citizenship between all parties in interest (Plaintiff and Geo Vera) and the value of

the matter in controversy exceeds $75,000, exclusive of interest and costs.

            7.     Consequently, Defendant GeoVera may remove this action pursuant to 28 U.S.C.

§ 1441.

            8.     Venue is proper in this Court under 28 U.S.C. § 1441(a) because this district and

division embrace Harris County, Texas, the place where the removed action has been pending.

            9.     Accordingly, all requirements are met for removal under 28 U.S.C. §§ 1332 and

1441. See Mem. & Order, Mesa v. Nationwide Prop. & Cas. Co., No. 4:09CV01262 (S.D. Tex.

July 24, 2009) (denying motion to remand lawsuit against Nationwide and North Carolinian

employee).

                                          BASIS FOR R E M O V A L


A.          Diverse Citizenship of the Proper Parties

            10.    Upon information and belief, Plaintiffs are, and were at the time suit was filed,

residents of Harris County, Texas, and citizens of the State of Texas. See Pis' Orig. Pet. f 3



DEFENDANT'S NOTICE OF REMOVAL - Page 2
21S3895vl
08917.277
            Case 4:15-cv-00874 Document 1 Filed in TXSD on 04/03/15 Page 3 of 4



(Exhibit " D " herein).

            11.    Defendant Geo Vera is, and was at the time the lawsuit was filed, a citizen of the

State of California. Geo Vera is incorporated under the laws of the State of California, with its

principal place of business in Fairfield, California.

B. Amount in Controversy Exceeds $75,000.00

            12.    This is a civil action in which the amount in controversy exceeds $75,000.00.

Plaintiffs Petition expressly alleges that "Plaintiff seeks monetary relief of no more than

$100,000.00 [.]" See Pis' Orig. Pet. % 70 (Exhibit " D " herein). Thus, the express allegations in

the Petition exceed the amount in controversy threshold of $75,000.00.

                                      C O N C L U S I O N AND P R A Y E R


            A l l requirements are met for removal under 28 U.S.C. §§ 1332 and 1441. Accordingly,

Defendant hereby removes this case to this Court for trial and determination.



                                                  Respectfully submitted,

                                                  /s/ Rhonda J. Thompson
                                                  Rhonda J. Thompson
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                                                  C O U N S E L F O R DEFENDANT




DEFENDANT'S NOTICE OF REMOVAL - Page 3
2183895vl
08917.277
            Case 4:15-cv-00874 Document 1 Filed in TXSD on 04/03/15 Page 4 of 4



                                      C E R T I F I C A T E OF S E R V I C E

        This is to certify that on April 3, 2015, a true and correct copy of the foregoing was
delivered to the following counsel for Plaintiff in accordance with Federal Rule of Civil
Procedure 5(b).

            Via Facsimile and Certified Mail, R R R :
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            Counsel for Plaintiffs


                                                    /s/Adrienne B. Hamil
                                                    Rhonda J. Thompson
                                                    Adrienne B. Hamil




DEFENDANT'S NOTICE OF REMOVAL - Page 4
21S3895vl
08917.277
